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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS
 LIABILITY LITIGATION                             Case No. 3:21-md-3004-NJR

 This Document Relates to All Cases               MDL No. 3004




                      CASE MANAGEMENT ORDER NO. 3

ROSENSTENGEL, Chief Judge:

       The undersigned issues this third Case Management Order to give the parties no-

tice and an opportunity to be heard regarding the appointment of a special master.

       Plaintiffs in these cases allege injuries, including the development of Parkinson’s

disease, caused by exposure to the herbicide paraquat. Currently, 146 cases are pending

that were filed in this Court, have been transferred to this Court, or are subject to a Con-

ditional Transfer Order to this Court. There are additional related cases currently pend-

ing in state-court dockets in California and Illinois. The Court expects many additional

cases to be filed over the next several months.

       Because of the quantity and complexity of these related cases, and the common

interest in a fair and expeditious resolution, the Court has determined that it would be

beneficial to appoint a special master, at the expense of the parties, to assist the Court.

See FED. R. CIV. P. 53. Such appointments are standard in products liability multidistrict

litigation. See, e.g., Order, In re: Juul Labs, Inc., Marketing, Sales Practices, and Prods. Liab.

Litig., MDL No. 2913 (N.D. Cal., June 19, 2020); Order, In re: Zantac (Ranitidine) Prods. Liab.


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Litig., MDL No. 2924 (S.D. Fla., Mar. 20, 2020); Order, In re: 3M Combat Arms Earplug Prods.

Liab. Litig., MDL. No. 2885 (N.D. Fla., Oct. 15, 2019).

       The Court believes that Randi S. Ellis of Randi S. Ellis, LLC (www.randiellis.com)

is well-qualified to serve as special master. The Court has worked with Ms. Ellis for sev-

eral years on a mass action docket, class actions, and other complex litigation. The Court

finds that she possesses the skills, knowledge, and work ethic to assist the Court with

various aspect of this matter. Ms. Ellis’s dedication to this case will be extremely valuable

to the Court and the parties.

       Accordingly, the Court directs the parties that objections, if any, to the appoint-

ment of Ms. Ellis shall be filed by July 13, 2021. If any objections are filed, then the Court

will decide if additional information or a response is necessary before setting the objec-

tion(s) for hearing.

       IT IS SO ORDERED.

       DATED: July 6, 2021

                                                  ___________________________
                                                  NANCY J. ROSENSTENGEL
                                                  Chief U.S. District Judge




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